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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


CALVIN BRACKBILL                                :   CIVIL ACTION
                                                :
           VS.                                  :
                                                :
STEPHEN J. RUFF, et al.                         :   NO. 1:17-cv-01046-JPW

                                NOTICE OF APPEAL

       Notice is hereby given that Calvin Brackbill, Palintiff in the above named case,
hereby appeals to the United States Court of Appeals for the Third Circuit from the final
judgment entered in this action on March 31, 2022.


                                                                 LEVIN & ZEIGER, LLP

      Dated: April 6, 2022                                 BY: /s/Brian J. Zeiger, Esquire

                                                                  Brian J. Zeiger, Esquire
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                                    Certificate of Service

         I, Brian J. Zeiger, Esquire, hereby state that I am the attorney for the Plaintiff in
this action and certify that I have on this date served this Notice of Appeal on the
following via ecf:

Honorable Jennifer P. Wilson
Honorable William I. Arbuckle
Frank J. Lavery , Jr., Esquire
Elizabeth Kramer, Esquire

April 6, 2022                                                   /s/Brian J. Zeiger
DATE                                                            BRIAN J. ZEIGER, Esquire
